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UNITED STATES DISTRICT COURT                                        SOUTHERN DISTRICT OF TEXAS


                   Motion and Order for Admission Pro Hac Vice

      Division          Houston                              Case Number                24-cv-01607

                                  In re Tehum Care Services, Inc. et al.


                                                    versus




           Lawyer’s Name                  Jeffrey A. Lamken
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       Federal Bar & Number               Fifth Circuit (no number issued)



 Name of party applicant seeks to                        Official Committee of Tort Claimants
 appear for:


                                                                                  ✔
 Has applicant been sanctioned by any bar association or court? Yes _______ No ________

 On a separate sheet for each sanction, please supply the full particulars.


 Dated:       5/10/2024         Signed:                         /s/ Jeffrey A. Lamken



 The state bar reports that the applicant’s status is:


 Dated:                         Clerk’s signature



               Order
                                                    This lawyer is admitted pro hac vice.

Dated:
                                                             United States District Judge
